                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION

  HASSAN RAASHANN SHABAZZ,                      )
       Plaintiff,                               )        Civil Action No. 7:14-cv-00457
                                                )
  v.                                            )
                                                )        By: Elizabeth K. Dillon
  B.J. LOKEY, et al.,                           )            United States District Judge
         Defendants.                            )


                                    MEMORANDUM OPINION

         Plaintiff Hassan Raashann Shabazz (Shabazz), who initially represented himself but was

  represented by counsel at trial, is an inmate at the Augusta Correctional Center (ACC), a

  Virginia Department of Corrections (VDOC) facility. His complaint, filed pursuant to 42 U.S.C.

  § 1983, alleged violations of his First and Fourteenth Amendment rights, violations of the

  Religious Land Use and Institutionalized Persons Act of 2000 (RLUIPA), a state claim for

  detinue, and a state claim under the Virginia Tort Claims Act, following the confiscation of

  documents from his cell.

         Shabazz alleges that he is a member of the Nation of Islam (NOI) and that he possessed

  religious NOI documents because he is required to study them. The documents were confiscated

  from him on May 1, 2013, after VDOC staff determined that the documents were gang-related

  because they are affiliated with a group called the Nations of Gods and Earth (NGE), also known

  as the Five Percenters. VDOC has a zero-tolerance policy regarding gang-related materials. As

  made clear at trial, Shabazz is not challenging the zero-tolerance policy on its face or as applied

  to NGE Members/Five Percenters, but contends that he is not a NGE member and the

  confiscation violated his rights as an NOI follower.




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         All but two defendants were dismissed at the summary judgment stage, and the only

  claims that remained to be tried were plaintiff’s First Amendment (free exercise clause),

  RLUIPA, and detinue claims against defendants B. J. Lokey (Lokey) and L. H. Leatherwood

  (Leatherwood). (Mem. Op. & Order, Dkt. Nos. 28, 29.) The court also determined on summary

  judgment that Shabazz “cannot recover damages against Defendants under RLUIPA or in their

  official capacities under 42 U.S.C. § 1983.” (Mem. Op. 9 n.9.)

         During the bench trial, all parties presented evidence and argument, and the court took

  under advisement defendants’ oral motion for judgment as a matter of law pursuant to Federal

  Rule of Civil Procedure 52(c). Based on all the evidence presented during trial, the court issues

  this memorandum opinion and order, which constitutes its findings of fact and conclusions of

  law pursuant to Federal Rule of Civil Procedure 52(a).

                                      I. FINDINGS OF FACT

  1. Shabazz is an inmate in the custody of VDOC. He has been in custody for approximately 17

     years and is currently housed at ACC, where he was housed on May 1, 2013.

  2. As of May 1, 2013, Lokey was employed by VDOC as an Intelligence Officer at ACC.

  3. As of May 1, 2013, Leatherwood was employed by VDOC as a Gang Specialist within

     VDOC’s Gang Management Unit.

  4. Shabazz is and has been a member of NOI since 1996. He was not in VDOC custody when

     he joined. In order to join NOI, he went through a process of purification, which included

     fasting, and had to memorize answers to questions in the Student Enrollment. A letter of

     sincerity to Master Fard Muhammad, NOI’s founder, was also required, professing sincerity

     to “The Supreme Wisdom.” “The Supreme Wisdom Lessons” are gradually provided during

     NOI orientation under the tutelage of a person that has been rigorously trained. “The

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     Supreme Wisdom Lessons” are not distributed to others because those who have not been

     trained may misconstrue them.

  5. Shabazz has a sincerely-held religious need to adhere to his personal faith of NOI. His

     sincerely-held religious practices include, inter alia, reading lessons daily from “The

     Supreme Wisdom Lessons,” which is a central canonical source for his faith. The

     “Instructions Given to the Laborers,” part of “The Supreme Wisdom Lessons,” instructs that

     the student is to study and “memorize by heart all answers of said lesson number 1.”

     Shabazz believes that he must study “The Supreme Wisdom Lessons” to memorize all

     answers to the lessons as he was instructed to do, in part by the “Instructions Given to the

     Laborers.” Also, Shabazz uses other texts commonly known to the NOI community to help

     him understand “The Supreme Wisdom Lessons” and his personal faith. Shabazz’s copy of

     “The Supreme Wisdom Lessons” and other religious documents consisted of unbound papers

     that were photocopied, transcribed, typed, or handwritten. He constantly revisits the lessons,

     as he must. This is a core requirement of NOI so that NOI members can go through the same

     experience Elijah Muhammad (the messenger of Allah) did when he was under the tutelage

     of Master Fard Muhammad (the founder and head of NOI). Upon cross-examination,

     Shabazz demonstrated his thorough knowledge of the lessons.

  6. Wali Hafil El-Shabazz, an inmate at ACC from 1994 through 1998 and again from 2014

     through at least the trial date, who serves as the resident student secretary of NOI at ACC,

     confirmed Shabazz’s understanding of the requirements of NOI and the importance of the

     texts. He has always had a copy of “The Supreme Wisdom Lessons” while at ACC and

     confirmed that Shabazz regularly attended NOI services at ACC. Shabazz’s regular

     attendance at NOI services was also confirmed by Paul Ritter, ACC’s Chaplain.

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  7. Michael Muhammad Knight, Professor of Religious Studies at Kenyon College, specializes

     and is an expert in Islamic studies. These studies include NOI. NOI history began in 1930

     when it was founded by Master Fard Muhammad. Elijah Muhammad was a student of

     Master Fard Muhammad and was the NOI leader for about 40 years. He wrote extensively.

     Following his passing, Louis Farrakhan became NOI’s leader. NOI’s central, foundational

     text is “The Supreme Wisdom Lessons” and access to it is required. Followers also refer to

     the Bible and the Quran. NOI followers believe that God is a man with a body and not a

     “mystery God” or transcendent invisible spirit.

  8. Professor Knight also testified to the founding of NGE, also known as the Five Percenters.

     NGE was formed in the mid-1960s in Harlem by Clarence 13X, also known as Allah.

     Similar to the protestant reformation when Martin Luther looked at the book of Romans and

     other books in the Bible and broke away from the Catholic Church, Clarence 13X

     reinterpreted “The Supreme Wisdom Lessons” and espoused the belief that the black man is

     God and that all black men are gods equally without a privileged supreme knower above

     them. This contrasts with NOI members who believe that black people are divine, but that

     there is one supreme knower, Allah, and he is Master Fard Muhammad, who had a privileged

     messenger who was Elijah Muhammad and is now Louis Farrakhan.

  9. VDOC recognizes NOI as a permitted religious sect within its prisons. VDOC is a

     department of the Commonwealth of Virginia and receives federal funding.

  10. The VDOC has recognized NGE, or Five Percenters, as a gang and security threat group for

     the past twenty-plus years. The VDOC recognizes NGE as a violent gang and separatist hate

     group in part because NGE members believe in their racial superiority and have been




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     involved in stabbings and drug distribution within VDOC facilities. NGE is one of the top

     three or four gangs in VDOC with approximately 1,500 members.

  11. NGE members are not allowed to congregate for purposes of NGE. However, an NGE

     member is not prohibited from being on a prison’s master pass list to attend religious

     services. For example, NGE members are known to attend the religious services of Sunni

     Muslims, Buddhists, Rastafarians, and NOI Muslims. NGE members are known to take over

     other inmates’ group meetings in order to congregate to evade the VDOC’s ban on NGE

     gatherings. NGE inmates had overtaken NOI services at ACC as recently as 2012.

  12. The VDOC has a zero-tolerance policy toward prison gangs. While there was testimony that

     the zero-tolerance policy applies to everyone regardless of whether or not an inmate

     associates with, or is suspected to associate with, a gang, it is also the case that investigators

     must look to the entire collection of documents possessed by an inmate and look to the intent

     of the documents. If an NOI member possesses suspected gang materials, he may be

     interviewed. Indeed, this happened to Shabazz in 2009 when he was housed in VDOC’s

     Haynesville Correctional Center (HCC). The institutional investigator at HCC seized

     Shabazz’s religious documents, believing them to be NGE documents. After the investigator

     questioned Shabazz about the documents and Shabazz’s faith, however, he returned the

     religious documents to Shabazz.

  13. VDOC staff believes Five Percenters use secret codes to communicate, recruit, and organize

     within prisons. Also, VDOC staff believes that tension and conflict would increase if NGE

     materials were disseminated among rival groups.

  14. Just like NOI adherents, NGE members rely on “The Supreme Wisdom Lessons” as a

     foundational text, but the two groups interpret “The Supreme Wisdom Lessons” and the

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     history of their organizations differently. Both NGE and NOI deem the meaning of numbers

     via mathematics, known as “The Supreme Mathematics,” central to their respective beliefs

     and behaviors. In contrast, “The Solar Facts” is considered primarily an NGE text.

     Nonetheless, the various documents used for either NGE or NOI purposes do not always

     clearly reveal their purpose or affiliation with just NOI or just NGE.

  15. The VDOC uses a Faith Review Committee to adjudicate inmates’ requests for recognition

     of documents, texts, or books as authorized religious materials. If the Faith Review

     Committee approves an item or publication for religious purposes, an inmate is permitted to

     keep the item or publication for religious purposes.

  16. As of May 1, 2013, Shabazz had not sought the Faith Review Committee’s approval to deem

     his religious documents as recognized religious texts for NOI members, and no evidence was

     provided as to whether the Faith Review Committee had ever approved religious documents

     like Shabazz’s for NOI members.

  17. Pursuant to the zero-tolerance policy, VDOC staff search the cells of suspected or known

     NGE gang members to look for, inter alia, NGE affiliated identifiers like numerology, “The

     Supreme Mathematics,” “The Supreme Alphabets,” “The Book of Life,” “The Lost and

     Found Lessons 1 and 2,” “Student Enrollment,” “120 Degrees,” “A.L.L.A.H.,” “Arm Leg

     Leg Arm Head,” “Roaming the Earth,” “The Solar Facts,” “The Great Understanding,” “The

     Actual Facts,” “English Lesson C,” “cipher,” and “Born Day.” Investigators then review the

     materials to determine whether the collection of materials shows an intent regarding gang

     activity.

  18. If VDOC determines that the materials are gang-related, the items are seized as contraband,

     and staff would assign one or more points to an inmate’s file to document a possible

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     affiliation with a gang. The VDOC uses a ten-point system to categorize possible gang

     affiliation: validated at ten points or more, suspected at between one and nine points, and

     unaffiliated at zero points.

  19. At various times since 2000 and prior to May 1, 2013, Shabazz was allowed to possess his

     religious materials.

  20. At some time prior to his incarceration at ACC, Shabazz was housed at James River

     Correctional Center (JRCC), another VDOC facility. Staff at JRCC confiscated Shabazz’s

     “Star and Crescent” necklace, which depicted the NOI’s emblem, as NGE paraphernalia.

     After Shabazz filed an administrative grievance, the NOI necklace was returned to him.

     However, an alert remained in Shabazz’s inmate file flagging him as a suspected NGE

     member.

  21. As of May 1, 2013, Shabazz’s inmate record had at least one alert indicating he was a

     suspected NGE member/Five Percenter.

  22. Per Lokey’s and Leatherwood’s instructions on May 1, 2013, ACC staff searched the cells of

     suspected or verified Five Percenters. Shabazz’s cell was one of the searched cells. Staff

     confiscated all of the documents in Shabazz’s cell and brought them to a room for Lokey and

     Leatherwood to review for any prohibited gang material.

  23. Lokey and Leatherwood reviewed and investigated numerous documents and items retrieved

     from Shabazz’s cell. The documents at issue are titled “Actual Facts,” “Student Enrollment,”

     “Lost Found Muslim Lesson No. 1,” “Lost Found Muslim Lesson No. 2,” “First Term

     Examination Assignment of Mr. Elijah Muhammad,” “The Problem Book,” “The Supreme

     Mathematics,” “The Supreme Alphabet,” and “The Completion of the Nine 33 Cycles”

     (hereinafter, the Documents). Many of the Documents are sections from “The Supreme

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     Wisdom Lessons.” The parties agree that the Documents are the only documents at issue in

     this case. While other documents were seized, the parties have reached an agreement with

     regard to these other documents.

  24. Lokey and Leatherwood believed the Documents constituted prohibited NGE material in

     violation of VDOC’s zero-tolerance gang policy. Some aspects of the Documents implicated

     NGE in some way by referencing NGE identifiers like “The Solar Facts,” “The Supreme

     Alphabets,” “The Completion of the Nine 33 Cycles,” “The Great Understanding,”

     numerology, “Mathematical Understanding of Student Enrollment (1-10),” and “Happy Born

     Day.”

  25. Neither Lokey nor Leatherwood questioned Shabazz, the institutional chaplain, or other

     VDOC staff about the Documents or about Shabazz’s relationship with either NOI or NGE.

  26. Shabazz’s expert witness, Dr. Knight, concluded that NGE material and references appeared

     in the Documents, but based on his expertise and understanding of the nuances between the

     NOI and NGE, he also concluded that Shabazz was committed to NOI and was not using the

     Documents in furtherance of NGE. His conclusion was undisputed and is specifically

     adopted by the court.

  27. Dr. Knight based his opinions on his extensive research of Islamic studies. He earned a

     Bachelor of Arts in Religious Studies from Skidmore College, a Master in Theological

     Studies from Harvard University, and a Ph.D. in Religious Studies from the University of

     North Carolina. He has written journalistic research-type projects on NGE and encyclopedia

     articles on NGE and African American Islam. For example, he has contributed to chapters or

     sections in The Oxford Handbook on African American Islam and The Cambridge

     Companion to American Islam. He was employed as a visiting professor at a college where

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     he teaches various religious courses about, inter alia, North American Islam. Dr. Knight

     does not work for or with VDOC.

  28. Following the seizure of the Documents, Shabazz could not possess the Documents and his

     religious practice of reading and memorizing his religious texts was frustrated and

     substantially burdened.

  29. As of May 1, 2013, Lokey was not aware of the beliefs, practices, or religious texts of NOI.

  30. As of May 1, 2013, Leatherwood did not know that “The Supreme Wisdom Lessons” were

     created by NOI, and she had not investigated the religious beliefs of NOI or NOI’s central

     texts.

  31. Neither Lokey nor Leatherwood ever received any training about NOI or religion generally

     before seizing the Documents, and neither was involved with the Faith Review Committee.

  32. Lokey and Leatherwood did not seize the Documents to intentionally interfere with

     Shabazz’s religious beliefs or practices as they were not contemplating religion or NOI when

     looking through Shabazz’s documents for NGE material.

  33. On May 1, 2013, and on the date of the trial, neither Lokey nor Leatherwood had the

     authority to make, edit, or rescind VDOC policies.

  34. Shabazz was convicted of an institutional charge of possessing gang paraphernalia and lost

     thirty days’ commissary privileges.

  35. No person employed or affiliated with VDOC who testified at the trial, including ACC

     Chaplain Paul Ritter and GraceInside President Reverend J. Randy Meyers, who advocates

     for the religious rights of inmates and provides guidance to VDOC, demonstrated anything

     more than a passing and vague familiarity with NOI, its core beliefs, and its core religious

     texts.

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                                             II. ANALYSIS

   A. Standard of Review

            Rule 52(a)(1) of the Federal Rules of Civil Procedure requires that the court make

   specific findings of fact and state conclusions of law separately in any action tried without a jury.

   Specifically, the trial judge must appraise the testimony and demeanor of witnesses, as well as

   weigh the evidence and choose among conflicting inferences and conclusions those that seem

   most reasonable. See Burgess v. Farrell Lines, Inc., 335 F.2d 885, 889–90 (4th Cir. 1964). In

   this regard, the trial court has a unique opportunity to evaluate the credibility of witnesses and

   weigh the evidence accordingly. See Johnson v. SmithKline Beecham Corp., 724 F.3d 337, 345

   (3d Cir. 2013) (citing Inwood Labs., Inc. v. Ives Labs, Inc., 456 U.S. 844, 855 (1982)).

            A trial court must do more than announce statements of ultimate fact, United States ex

   rel. Belcon, Inc. v. Sherman Constr. Co., 800 F.2d 1321, 1324 (4th Cir. 1986), but is not required

   “to make findings on all facts presented or to make detailed evidentiary findings. . . . The

   ultimate test as to the adequacy of the findings will always be whether they are sufficiently

   comprehensive and pertinent to the issues to provide a basis for decision and whether they are

   supported by the evidence.” Darter v. Greenville Cmty. Hotel Corp., 301 F.2d 70, 75 (4th Cir.

   1962).

   B. Conclusions of Law

            This court has jurisdiction over Shabazz’s 42 U.S.C. § 1983 and RLUIPA claims

   pursuant to 28 U.S.C. § 1331, which confers jurisdiction on a court to resolve civil actions

   arising under federal law. Further, this court has jurisdiction over Shabazz’s state law detinue

   claim pursuant to 28 U.S.C. § 1367, which empowers the court to exercise supplemental

   jurisdiction over claims that form part of the same case or controversy as those within the court’s

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   original jurisdiction.

           1. Shabazz’s First Amendment and RLUIPA claims fail because defendants did not
              intentionally interfere with his religious rights.

           Shabazz alleges that his rights under the First Amendment and RLUIPA were violated.

   The court addresses each claim in turn.

                   a.   First Amendment

           Section 1983 provides a cause of action against “[e]very person” who deprives a citizen

   of his or her constitutional rights under color of state law. 42 U.S.C. § 1983. To state a legally

   cognizable claim under § 1983, a plaintiff must allege that (1) a right secured by the Constitution

   or laws of the United States was violated, and (2) the alleged violation was committed by a

   person acting under the color of state law. See West v. Atkins, 487 U.S. 42, 48 (1988). The Free

   Exercise Clause of the First Amendment protects an inmate’s right to the free exercise of

   religion. U.S. Const, amend. I; Cruz v. Beto, 405 U.S. 319, 322 (1977). The Fourth Circuit has

   explicitly held that “only intentional conduct is actionable under the Free Exercise Clause.”

   Lovelace v. Lee, 472 F.3d 174, 201 (4th Cir. 2006). Thus, to state a claim that Lokey and

   Leatherwood violated his right to free exercise of religion, Shabazz “must assert conscious or

   intentional interference with his free exercise rights.” Id. (“[N]egligent acts by officials causing

   unintended denials of religious rights do not violate the Free Exercise Clause.”).

           The court concludes that Shabazz’s First Amendment claim fails because Lokey and

   Leatherwood did not seize the Documents to intentionally or consciously interfere with

   Shabazz’s free exercise rights. In Lovelace, the Fourth Circuit reasoned that there was a

   “genuine dispute” as to whether a correctional officer acted intentionally to deprive an inmate of

   his free exercise rights where the officer’s false report that he observed the inmate eating a “non-



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   Ramadan meal” caused the inmate’s ineligibility to participate in the Ramadan program. 472

   F.3d at 202. Here, in contrast, Lokey and Leatherwood were not—and could not have been—

   contemplating religion when they seized the Documents: Lokey was simply not aware of NOI

   beliefs or practices, and Leatherwood was not aware of its details or texts. At most, their seizure

   of the Documents constituted negligent conduct. Furthermore, Lokey and Leatherwood had no

   past experience—such as training or involvement with the Faith Review Committee—that would

   have provided such knowledge of NOI’s existence. Defendants acted, not to interfere with

   Shabazz’s religious rights, but to mitigate the perceived threat to institutional security—in

   accordance with VDOC policies—that was posed by NGE materials. So, even though the court

   determines that Lokey and Leatherwood acted intentionally in that they meant to confiscate the

   Documents as gang-related materials, the court concludes that Shabazz’s First Amendment claim

   fails because Lokey’s and Leatherwood’s acts were not “intentional interference with

   [Shabazz’s] free exercise rights.” See Lovelace, 472 F.3d at 201.

                        b. RLUIPA

              RLUIPA prohibits government officials1 from imposing a substantial burden on the

   religious exercise of an inmate unless the government demonstrates that the burden furthers a

   compelling governmental interest and is the least restrictive means of furthering that interest. 42

   U.S.C. § 2000cc-1(a). While RLUIPA “provide[s] greater protection for religious exercise than

   is available under the First Amendment,” Holt v. Hobbs, 135 S. Ct. 853, 859–60 (2015), a

   plaintiff bears the same initial burden of proof under RLUIPA as he does under the First

   Amendment, Brown v. Mathena, No. 7:14-cv-20, 2014 WL 4656378, at *5 (W.D. Va. Sept. 16,

   2014) (citing Lovelace, 472 F.3d at 187). Furthermore, claims under “both RLUIPA and the

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                  As stated above, “government” includes the defendants, who work for VDOC. 42 U.S.C. § 2000cc-
   5(4)(A).

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   First Amendment require a showing of ‘conscious or intentional interference’ with plaintiff’s

   rights.” Wall v. Wade, 741 F.3d 492, 500 n.11 (4th Cir. 2014) (quoting Lovelace, 472 F.3d at

   201). Intentionality is required because “allowing negligence suits to proceed under RLUIPA

   would undermine [due] deference by exposing prison officials to an unduly high level of judicial

   scrutiny.” Lovelace, 472 F.3d at 194.2

            Because the court concludes, as explained above, that Lokey and Leatherwood’s seizure

   of the Documents was not a conscious or intentional interference with Shabazz’s religious rights,

   Shabazz’s RLUIPA claim fails for the same reason as his First Amendment claim.3

            2. Shabazz’s detinue claim fails because defendants are entitled to sovereign
               immunity on this claim.

            Next, Shabazz seeks possession of the Documents under Virginia Code § 8.01-114.

   Under Virginia law, an action for detinue lies when one party unlawfully withholds personal

   property of another. SecureInfo Corp. v. Telos Corp., 387 F. Supp. 2d 593, 620 (E.D. Va. 2005).

   “The object of a detinue action is to recover specific personal property and damages for its

   detention.” Broad St. Auto Sales, Inc. v. Baxter, 334 S.E.2d 293, 294 (Va. 1985). In order to

   maintain an action in detinue, the plaintiff must show: (1) a right of property in the personal

   property to be recovered; (2) a right of immediate possession; (3) that the property is capable of

   identification and immediate possession; (4) the property has some value; and (5) that the


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               Because Shabazz did not prevail on either of his claims, the injunctive relief he requests—seeking
   modification or rescission of VDOC’s zero-tolerance policy as applied to him—is not available. Even if it were
   available, Lokey and Leatherwood were not, and are not, vested with authority to alter the policy. “Typically, in a
   claim for injunctive relief … in the context of prison litigation, th[e named] official is usually the warden of the
   institution where the inmate is incarcerated.” Johnson v. Lewis, No. 3:13-cv-148, 2014 WL 7183039, at *4
   (W.D.N.C. Dec. 16, 2014) (reasoning that claim for injunctive relief could go forward with respect to prison
   director).
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               These defendants, and through them the VDOC, are on notice now that enforcement of the zero-tolerance
   policy by confiscating certain documents from sincere NOI members may substantially burden and interfere with the
   religious rights of NOI members.

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   defendant had possession at some time prior to the commencement of the action. See Vicars v.

   Atl. Disc. Co., 140 S.E.2d 667, 670 (Va. 1965).

           The court concludes that this claim fails because Lokey and Leatherwood are entitled to
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   sovereign immunity, and so Shabazz cannot obtain the relief he seeks from them. As already

   noted, any tortious conduct here was, at most, negligent. In general terms, sovereign immunity

   will shield state employees from liability for acts of simple, but not gross, negligence, where the

   acts are discretionary and not ministerial. Colby v. Boyden, 400 S.E.2d 184, 186–87 (Va. 1991);

   see also Groves v. Cox, 559 F. Supp. 772, 774–75 (E.D. Va. 1983) (collecting authority noting

   the possibility of a sovereign immunity defense to a Virginia claim for detinue or return of

   property).

           In determining whether defendants’ acts were discretionary, such that immunity extends

   to them, the court looks to the factors set forth in James v. Jane, 282 S.E.2d 864 (Va. 1980), and

   evaluates “(1) [t]he function the employee was performing; (2) [t]he state’s interest and

   involvement in that function; (3) [w]hether the act performed by the employee involved the use

   of judgment and discretion; and (4) [t]he degree of control and direction exercised by the state

   over the employees.” Pike v. Hagaman, 787 S.E.2d 89, 92 (Va. 2016).

           As to the first and second James factors, the function that the defendants were performing

   was an investigation and determination of whether certain materials were gang-related or not,

   which involves the security of both prisoners and guards. Certainly, keeping the state’s

   correctional facilities secure and safe is essential to a governmental objective, and the

   government has a great interest and involvement in that function. See, e.g., Jennings v. Hart,

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             The fact that the defendants did not raise the sovereign immunity defense until trial is of no moment. See
   Edelman v. Jordan, 415 U.S. 651, 677–78 (1974) (noting that the defense of sovereign immunity may be raised at
   any time during litigation).

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   602 F. Supp. 2d 754, 759 (W.D. Va. 2009) (referencing that the state has a general interest in the

   safe and competent administration of its local correctional facilities). The third and fourth

   factors also weigh in favor of finding sovereign immunity for the acts alleged here. Defendants’

   acts—which included determining whether any particular document or piece of property posed a

   security risk as gang-related material—were not simply ministerial in nature. Defendants were

   trained in and familiar with gang signs and information, and they had to exercise discretion in

   determining whether a particular document posed a risk or not. They had to review the

   documents in context. Based on their testimony, there was not a list of materials that defendants

   simply had to follow, but they had to make individual judgments about whether a specific

   document, in the context of all the documents found, was gang-related and should be

   confiscated. Thus, the court concludes that the individual defendants were engaged in

   discretionary acts and are entitled to sovereign immunity for their role in seizing Shabazz’s

   property. Shabazz is not entitled to relief on his detinue claim against Lokey or Leatherwood.

                                          III. CONCLUSION

          For the reasons stated herein, an appropriate order entering judgment in favor of

   defendants Lokey and Leatherwood will be entered.

          Entered: September 30, 2017.




                                                         /s/ Elizabeth K. Dillon
                                                         Elizabeth K. Dillon
                                                         United States District Judge




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